                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

FIREMAN’S FUND INSURANCE                     )
COMPANY, a California corporation            )
                                             )
        Plaintiff,                           )
                                             )
v.                                           )       Civil Action No. 3:12-CV-851
                                             )
ST. PAUL FIRE AND MARINE                     )       Judge Sharp
INSURANCE COMPANY, a                         )       Magistrate Judge Holmes
Minnesota corporation; and                   )
TRAVELERS INDEMNITY                          )
COMPANY, a Connecticut                       )
corporation.                                 )
                                             )
        Defendants.                          )

                                  CONSOLIDATED WITH


STEVEN COHEN PRODUCTIONS,                    )
LTD., and ST. PAUL FIRE AND                  )
MARINE INSURANCE COMPANY,                    )
                                             )
        Plaintiffs,                          )
                                             )
v.                                           )       Civil Action No. 3:16-CV-0641
                                             )
LUCKY STAR, INC.                             )       Judge Sharp
                                             )       Magistrate Judge Holmes
        Defendant.                           )
                                             )


                                STIPULATION OF DISMISS


        The parties, by and through their undersigned counsel, hereby stipulate that they have

compromised and settled all claims in these two consolidated matters. Settlement payments have

been received by Plaintiffs and therefore the parties request this Honorable Court dismiss the two

consolidated claims with prejudice and without costs.

                                                 1

     Case 3:12-cv-00851 Document 146 Filed 08/03/16 Page 1 of 3 PageID #: 4522
       It is, THEREFORE ORDERED, ADJUDGED AND DECREED                      that this action is

dismissed with prejudice. The parties are responsible for their own discretionary costs.

       IT IS SO ORDERED

                                                    _______________________________
                                                    KEVIN H. SHARP
                                                    Chief Judge
                                                    United States District Court


APPROVED FOR ENTRY:

Dated: August 1, 2016

GLADSTONE WEISBERG, ALC

s/Leon Gladstone
Leon Gladstone, Esq.
(CA SBN 70967)
Admitted Pro Hac Vice
Gene A. Weisberg, Esq.
(CA SBN 91515)
Admitted Pro Hac Vice
6060 Center Drive, 10th Floor
Los Angeles, California 90045
Tel: (310) 821-9000
Fax: (310) 775-8775
lgladstone@gladstoneweisberg.com
Attorneys for Fireman’s Fund Insurance Company
and Lucky Star, Inc.

SPICER RUDSTROM PLLC

s/Brent S. Usery
Marc O. Dedman, Esq. BPR# 14044
Brent S. Usery, Esq. BPR# 25737
Bank of America Tower
414 Union Street, Suite 1700
Nashville, Tennessee 37219-1823
(615) 259-9080 telephone
(615) 259-1522 facsimile
bsu@spicerfirm.com
Attorneys for the St. Paul Fire and Marine Insurance
Company and Travelers Indemnity Company


                                                2

  Case 3:12-cv-00851 Document 146 Filed 08/03/16 Page 2 of 3 PageID #: 4523
LANGHENRY, GILLEN,
LUNDQUIST & JOHNSON, LLC

s/Steven R. Johnson
Steven R. Johnson, Esq. Bar #6208989
Admitted Pro Hac Vice
Stacy K. Shelly, Esq. Bar #6279783
Admitted Pro Hac Vice
311 S. County Farm Road – Suite L
Wheaton, Illinois 60187
sjohnson@lglfirm.com
Attorneys for Steven Cohen Productions, Ltd.
and St. Paul Fire and Marine Insurance Company




                                            3

  Case 3:12-cv-00851 Document 146 Filed 08/03/16 Page 3 of 3 PageID #: 4524
